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USDC SDNY
UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED

 

JEREMIAH SPRUILL. DOC #:
DATE FILED: 1/12/2021

Plaintiff,

 

-against-

21 Civ. 181 (AT)

THE CITY OF NEW YORK, NEW YORK
COUNTY DISTRICT ATTORNEY CYRUS ORDER
VANCE, NEW YORK CITY POLICE
DEPARTMENT UNDERCOVER OFFICER
UC0039, NEW YORK CITY POLICE
DEPARTMENT UNDERCOVER OFFICER
UC0076, NEW YORK CITY POLICE
DEPARTMENT SERGEANT ROBERT KELLY
(Shield No. 3349), NEW YORK CITY POLICE
DEPARTMENT DETECTIVE OSCAR
FERNANDEZ (Shield No. 7103), NEW YORK
CITY POLICE DEPARTMENT DETECTIVE
JAMAL HAIRTSON (Shield No. 203), NEW
YORK CITY POLICE DEPARTMENT
DETECTIVE CHRISTOPHER HEREDIA (Shield
No. 1339), NEW YORK CITY POLICE
DEPARTMENT DETECTIVE ERICK ORTIZ
(Shield No. 3383), in their individual and official
capacities,

 

Defendants.
ANALISA TORRES, District Judge:

 

To protect the public health, while promoting the “just, speedy, and inexpensive determination
of every action and proceeding,” Fed. R. Civ. P. 1, it is ORDERED pursuant to Rules 30(b)(3) and
30(b)(4) of the Federal Rules of Civil Procedure that all depositions in this action may be taken via
telephone, videoconference, or other remote means. It is further ORDERED pursuant to Rule
30(b)(5) that a deposition will be deemed to have taken place “before an officer appointed or
designated under Rule 28” if such officer attends the deposition using the same remote means used to
connect all other participants, so long as all participants (including the officer) can clearly hear and be
heard by all other participants. The parties are encouraged to engage in discovery through remote
means at every available opportunity.

SO ORDERED.

Dated: January 12, 2021
New York, New York

ANALISA TORRES
United States District Judge
